






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00051-CR







Cedric Barnes, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF MILAM COUNTY, 20TH JUDICIAL DISTRICT


NO. CR22,060, HONORABLE ED MAGRE, JUDGE PRESIDING






M E M O R A N D U M    O P I N I O N



Appellant Cedric Barnes entered an open plea of guilty to an indictment accusing him
of possessing more than four but less than two hundred grams of cocaine.  See Tex. Health &amp; Safety
Code Ann. § 481.115 (West Supp. 2009).  He also pleaded true to two previous felony convictions
alleged for enhancement.  The court adjudged him guilty and, after hearing testimony relevant to
sentence, assessed punishment at forty years in prison.  Barnes's sole contention on appeal is that
his trial counsel was ineffective.  We overrule this contention and affirm the conviction.

On December 30, 2007, Officer Michael Hoyt attempted to stop appellant's
automobile after observing a traffic offense.  Appellant failed to respond to the officer's signal, and
he drove at a high rate of speed for six blocks to the house occupied by his girlfriend,
Cassandra&nbsp;McBride.  Appellant leapt from the car and ran into the house, carrying an object about
the size of a football.  Appellant locked the door behind him, but eventually he and another man,
Jermaine Jackson, exited the house and were arrested by Hoyt and other officers who had arrived at
the scene.

The officers found a bag containing 47 grams of crack cocaine in the floorboard of
appellant's car.  The officers also searched the house with McBride's consent.  They noticed a
powerful odor in the house that they associated with phencyclidine.  There is testimony that this odor
was also on appellant's clothing.  A plastic jar containing 174 grams of liquid phencyclidine was
found in the bathroom.  A smaller bottle containing two grams of phencyclidine was also found in
the bathroom, as was a small bag containing one gram of cocaine.  Marihuana was found in both
appellant's car and in the garage.

An officer testified that a latent palm print was found on the plastic jar containing the
liquid phencyclidine, and that this print did not belong to either appellant or Jackson.  Appellant
asserts that it is evident from the record that the existence of this unidentified latent print was not
disclosed to counsel prior to trial.  He urges that upon learning of this undisclosed exculpatory
evidence, his attorney "should have asked the [trial court] for a recess to discuss this development
and apprise [appellant] of new options made available by it, these options being a motion for a
mistrial, a motion for new trial, asking that any evidence regarding the phencyclidine charge be
stricken from the record, or a motion to withdraw [appellant's] plea based on the assertion that it was
not knowingly entered."  Appellant contends that counsel rendered ineffective assistance because
he did none of these things.

To prevail on a claim of ineffective assistance of counsel, an appellant must show that
counsel made such serious errors that he was not functioning effectively as counsel and that these
errors prejudiced the appellant's defense to such a degree that he was deprived of a fair trial. 
Strickland v. Washington, 466 U.S. 668, 687 (1984); Hernandez v. State, 988 S.W.2d 770, 771-72
(Tex. Crim. App. 1999).  In reviewing a claim of ineffective assistance, we must indulge a strong
presumption that counsel's conduct fell within the wide range of reasonable professional assistance. 
Jackson v. State, 877 S.W.2d 768, 771 (Tex. Crim. App. 1994).  To overcome this presumption, any
allegation of ineffectiveness must be firmly founded in the record and the record must affirmatively
demonstrate the alleged ineffectiveness.  Mallett v. State, 65 S.W.3d 59, 63 (Tex. Crim. App. 2001).

Appellant has not met either prong of Strickland.  First, it is not clear from the record
that defense counsel was unaware of the fingerprint evidence.  Counsel asked the witness if he
considered the absence of appellant's prints on the bottle to be exculpatory, but this does not
necessarily imply that counsel was previously unaware of it.  Counsel's failure to object or otherwise
make an issue of this matter may simply reflect that counsel already knew that appellant's prints
were not on the jar.

Second, appellant was not on trial for possessing the phencyclidine, but for possessing
the cocaine found in his car.  In the absence of any evidence regarding the discussions between
appellant and his trial counsel that preceded his open plea of guilty, appellant has not demonstrated
that his plea would have been different had he and counsel known (if they did not) that appellant's
prints were not on the bottle of phencyclidine.

  Third, the record does show that the phencyclidine was irrelevant to the punishment
assessed.  Before assessing punishment, the court announced that it would not take the marihuana
into consideration because Jackson admitted that it was his, but that it would consider appellant's
evading arrest.  With regard to the phencyclidine, the court said, "There's some doubt on the PCP. 
Whether it's reasonable or not, I don't know, but to be on the safe side, I'll not consider it."  

Appellant has not overcome the presumption that his trial counsel rendered
reasonably effective assistance.  The sole issue is overruled, and the judgment of conviction
is&nbsp;affirmed.



				__________________________________________

				Jan P. Patterson, Justice

Before Justices Patterson, Puryear and Pemberton

Affirmed

Filed:   April 29, 2010

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